                     Case 3:04-cv-00251-HSO-ASH                                        Document 857-1                         Filed 09/03/19                Page 1 of 1
State of Mississippi                                            BUDGET REQUEST FOR FISCAL YEAR ENDING JUNE 30,2017
Form MBR-1 (2015)
                                                                                   REVISED:2/17/2016 1:01:58 PM                                                                   651-09
 Human Services - Divison ofFamily & Children's Servic                   750 North State Street                                                        Richard A.Berry
 AGENCY                                                                  ADDRESS                                                                       CHIEF EXECUTIVE OFFICER
                                                                               Actual Expenses          Estimated Expenses      Requested For              Requested Over/(Under) Estimated
                                                                                 June 30,2015              June 30,2016          June 30,2017
I. A:PERSONAL SERVICES                                                                                                                                    AMOUNT              I   PERCENT
      1.Salaries, Wages & Fringe Benefits(Base)                                          61,674,198              60,000,000           89,220,828
                a.Additional Compensation                                                                                                          '                                            tit
                b.Proposed Vacancy Rate(Dollar Amount)                                                                                                                                     _R`;>
                c.Per Diem
           Total Salaries, Wages & Fringe Benefits                                       61,674,i98              60,000,000           89,220,828                 29,220,828                48.70%
           2.Travel                                                 .
               a.Travel & Subsistence(In-State)                                           6,948,893               4,550,000            6,178,703                  1,628,703                35.80%
                b.Travel & Subsistence(Chit-Of-State)                                       409,844               1,950,000            2,648,016                   698,016                 35.80%
                c.Travel & Subsistence(Out-Of-Country)
           Total Travel                                                                   7,358,737               6,500,000            8,826,719                  2,326,719                35.80%
   B. CONTRACTUAL SERVICE S(Schedule B)
        a.Tuition Rewards & Awards                                                          377893                 332,265               867,471                   535.206                161.08%
        b. Communications,Transportation & Utilities                                        285,808                251,298               656,085                   404,787                161.08%
        c.Public Information                                                                 60,989                 53,625               140,003                    86,378                161.08%
        d.Rents                      .
                                                                                            973,731                 856,156            2,235,240                  1,379,084               161.08%
           e.Repairs & Service                                                              175,588                 154,386              403,069                    248,683               161.08%
           f.Fees,Professional & Other Services                                          27,388,814              23,988,150           62,627,896                 38,639,746               161.08%
           g.Other Contractual Services                                                     173,615                246,221               642,831                    396,610               161.08%
           h.Data Processing                                                              3,537,201               3,110,098            8,119,798                  5,009,700               161.08%
           i.Other                                                                            8,873                   7,801               20,368                     12,567               161.09%
   Total Contractual Services                                                            32,982,512              29,000,000           75,712,761                 46,712,761               161.08%
   C.COMMODITIES(Schedule C)
       a.Maintenance & Construction Materials & Supplies                                      1,492                   1,828                2,371                       543                 29.70%
       b.Printing & Office Supplies & Materials                                             515,790                665,878               863,311                    197,433                29.65%
           c.Equipment,Repair Parts, Supplies & Accessories                                 111,073                 136,102              176,456                     40,354                29.65%
           d Professional & Scientific Supplies & Materials                                  38,889                  8,257                10,704                      2,447                29.64%
           e.Other Supplies & Materials                                                     148,849                187,935               243,658                    55,723                 29.65%
   Total Commodities                                                                        816,093               1,000,000            1,296,500                   296,500                 29.65%
   D. CAPITAL OUTLAY
        1.Total Other Than Equipment(Schedule D-1)
        2.Equipment(Schedule D-2)
            b. Road Machinery,Farm & Other Working Equipment
            c.Office Machines,Furniture, Fixtures & Equipment                              280,515                   4,350             1,069,785                  1,065,435             24,492.76%
               d.IS Equipment(Data Processing & Telecommunications)                        630,179                 532,650             1,503,350                   970,700                182.24%
               e. Euipment - Lease Purchase
               f. Other Equipment                                                                                  463,000             4,319,100                  3,856,100               832.85%
           Total Equipment(Schedule D-2)                                                   910,694               1,000,000             6,892,235                  5,892,235               589.22%
           3.Vehicles (Schedule D-3)
           4 Wireless Comm.Devices (Schedule_D-4)                                                 107                5,000                 5,000
  E.SUBSIDIES,LOANS & GRANTS(Schedule E)                                                 46,094,390            143,901,427           145,561,540                  1,660,113                 1.15%
TOTAL EXPENDITURES                                                                      149,836,731            241,406,427           327,515,583                 86,109,156                35.67%
IL BUDGET TO BE FUNDED AS FOLLOWS:
  Cash Balance-Unencumbered
   General Fund Appropriation (Enter General Fund Lapse Below)                          76,168,151              79,418,151           132,177,422                 52,759,271                66.43%
  State Support Special Funds
  Federal Funds                                                                          72,120,327            158,299,709           191,649,594                 33,349,885                21.07%
                               Other Special Funds (Specify)
  Children Trust                                                                           111,152                 264,810               264,810
   Other                                                                                  1,396,304              3,326,562             3,326,562
   Casey Foundation                                                                          40,797                 97,195                97,195

   Less: Estimated Cash Available Next Fiscal Period
 TOTAL FUNDS (equals Total Expenditures above)                                         149,836,731             241,406,427           327,515,583                 86,109,156               35.67%
 GENERAL FUND LAPSE
III: PERSONNEL DATA
   Number ofPositions Authorized in Appropriation Bill         a.)Penn Full                  1,206                   1,189                 1,452                       263                 22.12%
                                                               b.) Penn Part
                                                               c.) T-L Full                    420                     417                  417
                                                               d.)T-L Part
  Average Annual Vacancy Rate(Percentage)                      a.)Perm Full
                                                               b.)Perm Part
                                                               c.) T-L Full
                                                               d.) T-L Part
                       Richard Berry
                                                                                                             EXHIBIT
Approved by:                                                                                                                                                         8/6/2015 3:21 PM
                                 Official ofBoard or Commission                                                                                         Date:
Budget Officer:        Earl D. Walker/EarlWalker@mdhs.ms.gov                                                                                            Title:       CFO
